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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. KELLY2024 OK 22Case Number: SCBD-7628Decided: 04/01/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 22, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
CHRISTOPHER ROBERTS KELLY, Respondent.



ORDER APPROVING RESIGNATION 
PENDING DISCIPLINARY PROCEEDINGS



¶1 Before this Court is (1) the affidavit of Respondent Christopher Roberts Kelly filed pursuant to Rule 8.1 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2021, ch. 1, app. 1-A, requesting that this Court allow him to resign his membership in the Oklahoma Bar Association (OBA) and relinquish his right to practice law, and (2) the OBA's Application for Order Approving Resignation Pending Disciplinary Proceedings.

Decision of the Court

¶2 On September 28, 1995, the OBA admitted Kelly to membership. On March 8, 2024, Kelly filed with this Court his affidavit of resignation pending disciplinary proceedings.

¶3 Kelly's affidavit of resignation reflects that (a) he freely and voluntarily renders his resignation, (b) he was not subject to coercion or duress, and (c) he is fully aware of the consequences of submitting his resignation.

¶4 Kelly is aware the OBA opened an investigation into two grievances filed against him in the following matters:


(a) DC 23-49: Grievance by Matthew Sessa: A client filed a grievance against Kelly on February 21, 2023, alleging that the client paid a $2,500 retainer and Kelly failed to perform legal work on a timely basis. The client discharged Kelly, and Kelly failed to refund the retainer despite agreeing to do so. During the OBA's investigation, the parties reached a settlement, and Kelly refunded the retainer. 



(b) DC 23-95: Grievance by the General Counsel: The OBA opened a grievance against Kelly after it was notified on June 5, 2023, of a temporary suspension of Kelly's license to practice law in Tennessee. The suspension of Kelly's license to practice law in Tennessee was a result of his failure to respond to the Tennessee Board of Professional Responsibility concerning a complaint of professional misconduct.


¶5 Kelly is aware that these allegations, if proven, would constitute at a minimum a violation of Rules 1.3, 1.4, 1.5, 1.16(d), 8.1(b), and 8.4(b) of the Oklahoma Rules of Professional Conduct (ORPC), 5 O.S.2021, ch. 1, app. 3-A, Rule 1.15 of the ORPC, 5 O.S. Supp. 2023, ch. 1, app. 3-A, and Rules 1.3 and 5.2 of the RGDP, as well as his oath as an attorney.

¶6 Kelly's affidavit of resignation further states:

a. Kelly is aware that the OBA has the burden of proving the allegations against him, but he waives any and all rights to contest the allegations.

b. He is aware that approval of his resignation is discretionary with this Court.

c. He is familiar with and agrees to comply with Rule 9.1 of the RGDP within twenty (20) days following the date of his resignation, to comply with Rule 11 of the RGDP as a prerequisite to reinstatement, and to make no application for reinstatement prior to the expiration of five (5) years from the effective date of his resignation.

d. He acknowledges that the Client Security Fund may receive claims from his former clients and agrees to reimburse the fund for the principal amounts and statutory interest for claims that it approves and pays as a prerequisite to his reinstatement to the practice of law.

e. He acknowledges and agrees to cooperate with the Office of General Counsel in the task of identifying any active client cases wherein documents and files need to be returned or forwarded to new counsel and to cooperate in any client cases where Kelly owes fees or refunds.

f. He acknowledges that the OBA has not incurred any costs in the investigation of this matter.

g. He will tender his OBA membership card to the Office of the General Counsel or destroy it.

¶7 We determine the effective date of Kelly's resignation to be April 1, 2024.

¶8 This Court finds Kelly's resignation pending disciplinary proceedings is in compliance with all the requirements outlined in Rule 8.1 of the RGDP and is accepted.

¶9 Kelly's OBA number is 16133, and his official roster address, as shown by OBA records, is P.O. Box 20391, The Village, Oklahoma, 73120.

¶10 IT IS THEREFORE ORDERED that the OBA's Application for Order Approving Resignation Pending Disciplinary Proceedings is approved.

¶11 IT IS FURTHER ORDERED that Kelly's name be stricken from the Roll of Attorneys and that he make no application for reinstatement to membership in the OBA prior to the expiration of five (5) years from the effective date of his resignation. See RGDP Rules 8.2 and 11.1.

¶12 IT IS FURTHER ORDERED that Kelly comply with Rule 9.1 of the RGDP, return all client files, and refund unearned fees.

¶13 IT IS FURTHER ORDERED that as a condition of reinstatement, Kelly shall reimburse the Client Security Fund for any monies expended because of his malfeasance or nonfeasance. See RGDP Rule 11.1(b).

¶14 IT IS FURTHER ORDERED that the OBA has not sought reimbursement of costs associated with the investigation of this matter, and therefore, no reimbursement is ordered.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 1st day of April, 2024.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






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